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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. : Criminal Case Number: 03-331
ELIU ELIXANDER LORENZANA- :
CORDON : AFFIDAVIT IN SUPPORT —

OF REQUESE.FOR:
EXTRADITION

 

 

  

I, Stephen Fraga, being duly sworn, depose, and state:

1.: lama citizen of the United States of America.

2. Iam a Special Agent with the Drug Enforcement Administration
(hereinafter “DEA”), and have been so employed since 1991. Tam currently assigned to -
the DEA Bilateral Investigations Unit in Chantilly, Virginia. As a Special Agent, I
investigate criminal violations of the federal drug and controlled substance laws. I have» -
personally conducted and participated in numerous narcotics investigations involving the ;
illegal manufacturing, possession, sale, distribution and importation of a vatiety of
cadlied whoemek I have amassed thousands of hours of experience in —
smuggling, and distibution investigations. AS part of these investigations, I have
debriefed dozens of defendants, witnesses, and informants who have had personal
knowledge of major oamadtoeretician organizations. In addition, I have successfully
completed extensive training emphasizing narcotic investigations and enforcement.

3. Prior to my employment as a Special Agent with the DEA, I was

EXHIBIT

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employed as a Special Agent of the United States Naval Investigative Service for

      
 

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approximately four and one half years.

4, Based on my training and experience, I am familiar with the means and
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methods that narcotics traffickers use to import illicit drugs, and | am familiar with the

support and assistance that narcotics organizations require to conduct their illegal

 
  

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activities. 1am also knowledgeable about the criminal statutes of the Ut ited States,”

 

 

particularly the federal narcotics statutes.

 

S, I am the agent assigned to this case, which involved an investi gait the |
drug trafficking activities of ELIU ELIXANDER LORENZANA-CORDON, Byron
ana Guillermo Herrera-Garcia, Phanor Aristazabaleta, James Aristazabaleta, Rey
Aristazabaleta, Jose Fernando Aristazabaleta-Lenis, Ricardo Alfonso Bravo-Isaza,
Waldemar Lorenzana-Lima, Haroldo Geremias Lorenzana-Cordon, Waldemar
Lorenzana-Cordon, Jr., Carlos Andres Alvarenga-Mejia, Gonzalo Lopez-Cabrera, Ismael .
Mario Zambada-Garcia and Jesus Reynaldo ne ee and others assodlated with
Otto Herrera-Garcia and his drug trafficking organization.

- 6. Thave been assigned to this investigation since 2006 and I am fully
familiar with the interviews of witnesses and confidential sources of information
(hereafter “confidential sources”), reports made by other DEA Special Agents and the
evidence in the case file. Based on this information, I will summarize ELIU
ELLEXANDER LINARES-CORDON’s drug trafficking activities in the following
paragraphs.
BACKGROUND

Te In approximately June of 1999, the DEA opened an investigation into the
Herrera-Garcia drug trafficking organization (hereafter “Herrera-Garcia organization”).
The investigation identified Otto Hemera Garda as the leader of the organization, and

Otto Herrera’s brother, Guillermo Vinicio Herrera-Garcia as the organization’s logistical -
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coordinator. Over time, the Herrera-Garcia organization has been responsible for
facilitating the smuggling of multi-ton shipments of cocaine through an international
narcotics trafficking organization that transported cocaine from Colombia to El Salvador,
Guatemala, and Mexico for importation to, and distribution in, the United States.

8. Based upon this investigation, the DEA learned that the Herrera-Garcia

‘organization essentially hired other drug trafficking organizations to assist the Herrera-

Garcia organization with the transportation and storage of cocaine shipmeft from

 

Colombia through Central America and on to Mexico for ultimate importation to and
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distribution in the United States. The investigation identified one of these drag’ re

  
 

trafficking organizations as the Lorenzana drug trafficking organization (hereafter
“Lorenzana organization”), a narcotics trafficking organization operating out of
Guatemala which is a transshipment point for drug shipments that originate in South
mestien that are destined for the United States.

9. The information contained in the following paragraphs shows that the
members of the Lorenzana organization jarchoused drugs once they arrived in
Guatemala and facilitated the transportation of the drugs into and through Guatemala.
The investigation also revealed that ELIU ELIXANDER LORENZAN A-CORDON was
a high ranking member of the Lorenzana family and was responsible for the cumulation
and receipt of drug shipments and SiggeeSion of locations at which drug shipments were
received. In addition, ELIU ELIXANDER LORENZANA-CORDON was responsible
for the acquisition and further distribution of quantities of drug shipments received.

WITNESSES

“EO. Confidential Source #1 (hereafter “CS1”) was a high ranking member of

 

 
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the Herrera-Garcia organization, who has been ee in drug trafficking activities with :
the Herrera-Garcia organization for more than ten years. CS1 personally participated in |
the drug trafficking activities of the Herrera-Garcia organization, and therefore has first-
hand knowledge of the Herrera-Garcia oreantzation’s operations, The information
provided by CS1 to law enforcement agents has been independently corroborated through |
other sources of information, documentation of drug seizures, as well as verification of
information by independent methods. —s

11. Confidential Source #2 (hereafter “CS2”) was a sepscaafeee mete :
member of the Herrera-Garcia organization and has been involved in drug trafficking
activities with the Herrera-Garcia organization for more shia ten years. agate Sige
participated in the drug trafficking activities of the Herrera-Garcia organization and has
first-hand knowledge of the Herrera-Garcia organization’s operations. The information
provided by CS2 has been independently corroborated through other sources of
information, documentation of drug séizures, as well as verification of information by
independent methods and has resulted in specific drug seizures. Additionally, the
information provided by CS2 has been adiependintly corroborated by CS1.

12. Confidential Bonne #3 (hereinafter “CS3”) was a member of the Herrera-
Garcia organization and had been involved in drug trafficking activities with the Herrera-
Garcia organization for approximately four years. CS3 participated in the drug .
trafficking activities of the Hereia-Garoia otwanization and has first-hand knowledge of
aspects of the organization’s operations. The information provided by cs3 has been
independently canatoraed through other sources of information and documentation in

drug ledgers. Additionally, the information provided by CS3 has been independently

 

 
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corroborated by CS1 and CE.

13. Confidential Source #4 (hereinafter “CS4”) was a member of the Herrera- _
Garcia sapnisatien and had been involved with the Herrera-Garcia organization for
approximately nine years. CS4 has participated in the drug trafficking activities of the
Herrera-Garcia organization and has first-hand knowledge of the Herrera-Garcia
organization’s operations. The information provided by CS4 has been independently

corroborated through other sources of information, documentation of drug seizures, as

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well as verification of information by independent methods. . In additio

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provided by CS4 has been independently corroborated by CS1 and O82, og

14. Confidential Source #5 (hereinafter “CS5’’) was a meinber.of a separate
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drug trafficking organization in Guatemala and had been involved with the drug
trafficking organization for more than five years. CS5 participated in the drug trafficking -
activities of the organization and has first-hand knowledge of the organization’s :
operations. The information provided by CS5 has been independently corroborated
through other sources of information, drug and money seizures, as well as verification of
information by independent methods. In addition, the information provided by CS5 has
been indeperidently corroborated by CS7 and CS8.

15. Confidential Source #6 (hereinafter “CS6”) was a high ranking member of
a drug transportation network for more than ten years and was responsible for the
coordination and transportation of drug shipments through Central American countries to
include Costa Rica, Nicaragua, Honduras, and Guatemala. CS6 coordinated, was
contracted by, and provided transportation services to various drug trafficking

organization operating throughout Central America. The information provided by CS6

 
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has been independently corroborated through arttaes sources of information,
documentation of seizures, as well as verification of information by sclependsub
methods, i addition, the information provided by CS6 has been independently
corroborated by separate soupemtine sources.

16. Confidential Source #7 (hereinafter “CS7”) was a member of the same.
drug trafficking organization as CS5 in Guatemala and had been involved with the drug
trafficking organization for more than five years. CS7 participated in the drug trafficking ,
activities of the organization and has first-hand knowledge of the organization’s |
operations. The information provided by CS7 has been independently corroborated.

through other sources of information, drug and money seizures, as well as verification of’

  

information by independent methods. In addition, the insertion: hn povided by CS 7a

 

been independently. corroborated by CS5 and CS8. ey cones

17. Confidential Source #8 (hereinafter “CS8”) was: a member of: ie same

 

drug trafficking organization as CS5 and C87 and had been involved with fis drug
trafficking emauiation for more than five years. cg participated in the drug trafficking :
activities of the organization and has first-hand knowledge of the organization’s
operations. The information provided by CS8 has been independently corroborated
through other sources of information, dei and money seizures, as well as verification of .
information by independent methods. In addition, the information provided by CS8 has
been independently corroborated by CS5 and CS7.
LORENZANA-CORDON’S DRUG TRAFFICKING ACTIVITIES
18. According to CS1 and CS2, beginning in approximately 1997, the

Herrera-Garcia organization began working with other drug traffickers to smuggle

 
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cocaine from Colombia into Central Ameri¢a for onward distribution to Mexico, and

ultimately, the United States. From approximately 1999 to 2003, the Herrera-Garcia F ti yh Heo

; —— - Tadiek ov
organization essentially worked with the Lorenzana organization to receive, inventory bran « s<erle
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— | - .  phedtar?h eer
and store Colombian cocaine in Guatemala before it was ultimately imported and if

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distributed into the United States.
19, The Phanor Arizabaleta Arzayus drug trafficking organization (hereafter

“Arizabaleta organization”) supplied the majority of cocaine to the Herrera-Garcia

organization. According to CSi, CS2, CS3, and CS4, for a year and a half Re an

   

approximately 1999 until 2001, the cocaine was smuggled out of Cold

 

boats. Members of the Herrera-Garcia organization met the “go- fast” Srassels' at s sea, :

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transferred the Colombian cocaine onto their own “go fast” boats, inventorigathe-’ ”
cocaine, and then transported the cocaine to the coast of El Salvador, where it was
offloaded and inventoried. From there, the cocaine was transferred to a secondary
storage location, further inland in El Salvador, where it was inventoried again by
members of the Herrera-Garcia organization.

aul At this secondary location, the cocaine was loaded onto banana trucks and
transported from El Salvador to Guatemala. Primarily, the cocaine was delivered toa
warehouse complex near La Reforma, Zacapa, Guatemala, which was managed by ELIU
ELIXANDER LORENZANA- CORDON and used by various members of the Lorenzana
organization, including ELIU ELIXANDER LORENZANA-CORDON to ence drug
shipments. |

21. Additionally, from approximately 2000 to 2003, the Herrera-Garcia

organization coordinated the transportation of cocaine-laden aircraft from Colombia to
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clandestine airstrins in Guatemala. The clandestine airstrips were located on or near
properties owned and/or utilized by the Lorenzana organization. bondi to CS1, CS2,
C83, and CS4, members of the Lorenzana organization, including co-conspirator
Waldemar Lorenzana-Cordon, Jr., were present at the clandestine airstrips and/or the
nearby storage facilities to oversee and/or participate in the inventory of the cocaine.

After the cocaine was offloaded and inventoried at these properties, the cocaine was
transported via truck to the warehouse complex utilized by the Lorenzana organization in :

Zacapa, Guatemala. The logistical coordination of these shipments was

 
   

either entirely or in part — by members of the Lorenzana organization, ine ding EE

ELIXANDER LORENZANA-CORDON and co-conspirator Haroldo Lorenzana

 

 

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cee According to CS1, CS2, and CS4, when the cocaine-laden fant atrived
- at the warehouse complex, the cocaine was offloaded by members of the Herrera-Garcia |
organization. The cocaine was then inventoried by Otto Herrera-Garcia, Byron Linares,
and others. CS1, CS2, and CS4 indicated that BLIU ELIXANDER LORENZANA-
CORDON and co-conspirators Haroldo Lorenzana, and Waldemar Lorenzana-Cordon, Jr. -
were often present during the inventory process.

23. - CSI has stated that, following the inventory process at the warehouse
complex in Zacapa, Guatemala, arrangement were made by Otto Herrera-Garcia to
distribute the cocaine to the owners of the cocaine who were members of several
Mexican drug trafficking organizations. Members of the Arizabaleta Organization
directed the distribution of cocaine to the Mexican drug trafficking organization owners.

24. C$1, CS2, and CS3 fave identified Byron Linares as the link between the -

Herrera-Garcia organization and the Lorenzana organization. According to CSI, CS2,

 
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_ and CS3, the money received from the sale of the cocaine, all in United States ogereuney
was gathered and inventoried at the warehouse complex by Linares and others. The
money would then be transported to one of two houses in Zone 14, Guatemala City,
Guatemala, where it was counted by Otto Herrera, Linares, and others. After the count
was agreed upon by all parties, the money was turned over to members of the Arizabaleta 3
organization, ito were responsible for delivery of the money back to Gpton
25. Boeibersrore, CSI, C82, and CS3 ins all fedieated that Linares was
responsible for the accounting aspect of the Lorenzana organization. CS1, CS2, and CS3
each had significant dealings with Linares and each are aware that Linares collected drug ‘

trafficking proceeds, maintained detailed accounting ledgers, and repatriated:thé procéeds

 
  
  

from drug trafficking activities to members of the Arizabaleta drug tratfickin
organization. e

26. During the course of this investigation, DEA Special Apens etn
_the Guatemala Country Office identified residences located at 22 Calle 10-56 and 22
Calle 10-64, Zona — 14, Guatemala City, Guatemala, as residences associated with Otto
Herrera-Garcia and observed Otto Herrera-Garcia, Linares, and Guillermo Hewen-
Garcia at these residences.

27. On April 2, 2003, Special Agents of the DEA assisted Guatemalan law ~
enforcement authorities in the lawful execution of a search warrant at the two residences _
in Guatemala City, Guatemala. Pursuant to the execution of the search warrant,
approximately $14 million dollars in U.S. currency was seized from these residences.

Accounting ledgers detailing income and expenses of the Lorenzana and other

organizations were seized. Also seized were assault rifles, a handgun, grenades, cellular

 

 
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telephones, a satellite telephone, a passport belonging to Otto Herrera-Garcia, vehicles,
including a vehicle registered to Guillermo Herrera-Garcia, and numerous documents.
Co-conspirator Jose Fernando Arizabaleta-Lenis was present at the time of the search.
28. CS1 and CS2 have reviewed portions of photocopies of the accounting
ledgers seized on April 2, 2003, and have identified references to several members of the
Lorenzana organization within the ledgers, ts include ELIU ELIXANDER
‘LORENZANA-CORDON. ‘The payments reflected in these accounting ledgers show

that the various members of the Lorenzana organization, including ELIU ELIZANDER

 

LORENZANA-CORDON, co-conspirators Byron Linares, Haroldo Ke renzana:and

   

others made payments to or were paid by a member of the Herrera: Garcia orga size

for cocaine trafficking activities in United States dollars. The dates included j

accounting ledgers indicate that many of these payments were made during 2001. CSI
and CS2 have further identified that many portions of the ledgers were authored by Byron
Linares since he sented as the Lorenzana organization accountant.

29. CSI stated that ELIU ELIXANDER LORENZANA-CORDON and co.
conspirators Byron Linares, Otto Herrera-Garcia, Haroldo Lorenzana, and Waldemar

Lorenzana-Cordon, Jr. met in Guatemala in approximately Feb ary 2004 to discuss the

Tae,

seizures from the previous year, and specifically discussed the fact (host Uinives’
accounting ledgers were among the documents seized during the execution of the
warrants in 2003 at the properties in Zone 14, Guatemala City, Guatemala.

30. CS1, CS2, CS3 and CS4 identified various logos from the cocaine
shipments that were transported by the Herrera-Garcia organization and distributed to the

Lorenzana organization, for which Linares provided accounting and inventory services.

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CS] and CS2 viewed photographs from several seizures of cocaine in the United States
and identified logos on the packaging from the seizes in the United States as the same
or similar logos as those that appeared on the cocaine transported by the Herrera-Garcia
organization.
31. The investigation also revealed that members of the Lorenzana
organization did not work exclusively with members of the Herrera Organization. They
contracted and worked with other drug trafficking organizations to transport drugs.
{’ According to C85, in approntiiataty 2002 in Guatemala, ELIU ELIXANDER — . |

LORENZANA-CORDON met Jorge Mario Paredes-Cordova, idéitifieg iby C85 a the < ce

   

\ head of a drug trafficking or ganization.

 

32. According to CS6, C86 met ELIU ELIXANDER LORENZ AIS
CORDON on approximately two occasions in October/November 2005. On each
occasion, CS6 was present when five hundred kilogram shipments of cocaine were
delivered to ELIU ELIXANDER LORENZANA- CORDON and Waldemar Lorenzana-
Cordon, Jr. in Guatemala. CS6 advised that ELIU ELIXANDER LORENZ ANA-
CORDON and Waldemar Lorenzana-Cordon Jr. were in charge of receiving both drug
shipments on behalf of the fdtonzana day trafficking organization.

33. According to CS7, CS7 was present in late 2006 at a cocaine
processing/packaging ieboieitory in Zacapa, Guatemala, CS7 described that the
laboratory was primarily used for the purpose of accepting delivery of and ‘ ‘cutting”
Oniatng with other diluents to increase the volume of) cocaine. CS7 related that he/she _ :
"was originally introduced to ELIU ELIXANDER LORENZANA-CORDON by the |

owner of the laboratory and that CS7 saw ELIU ELIXANDER LORENZANA-

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CORDON present at the laboratory site,

34. According to CS8, CS8 was present when members of the Lorenzana
organization, including ELIU ELIXANDER LORENZANA-CORD ON, delivered two
shipments of cocaine. Specifically, CS8 stated that in 2005, ELIU ELIXANDER
LORENZANA-CORDON delivered a shipment of 400 kilograms cocaine that had been
stored in a Lorenzana warehouse in Zacapa, Guatemala. CS8 further indicated that in
2006 members of the Lorenzana organization, including ELIU ELIXANDER
LORENZANA-CORDON, delivered a shipment of 300 kilograms of cocaine that had
been stored at a Lorenzane farm and that ELIU ELIXANDER LORENZANA-CORDON -
was present. CS8 further advised that CS8 was present on two occasions: when, BLU

_ ELIXANDER LORENZANA-CORDON repatriated money pursus

    

‘Shipments referenced above.

 

35.  ELIU ELIXANDER LORENZANA-CORDON is a Ghateiiaids —
born on November 29,1971 in Guatemala. BLU ELIXANDER LORENZ ANA-
CORDON has used the alias Elio Elixander Lorenzana-Cordon. He is described as a
Hispanic male, standing approximately 5 feet, 5 inches tall, and weighing approximately |

170 pounds. LORENZ ARASCORDEN S cedula number is R-19-4478,

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76. CSI, CS2, C83, C84, C85, C86, C87, and CS8 have viewed the

photograph, attached to my affidavit as Attachment 1, and identified LORENZANA-

CORDON as one of the primary members involved in the drug trafficking conspiracy

whose drug trafficking activities are described above,

     

 
     

x

Stephén Praga Special Agent
Drug Enforcement Administration

SWORN AND SUBSCRIBED BEFORE ME
on this Coa day of . _. beaten e201

 
  
  

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(YY A Pecan
HGMORABLE JOHN FACCIOLA

UNITED STATES MAGISTRATE JUDGE
DISTRICT OF COLUMBIA

    

 

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